Case 4:24-mc-01163 Document 1-15 Filed on 07/22/24 in TXSD Page 1 of 20




              EXHIBIT 14
Case 4:24-mc-01163 Document 1-15 Filed on 07/22/24 in TXSD Page 2 of 20
Case 4:24-mc-01163 Document 1-15 Filed on 07/22/24 in TXSD Page 3 of 20
Case 4:24-mc-01163 Document 1-15 Filed on 07/22/24 in TXSD Page 4 of 20
Case 4:24-mc-01163 Document 1-15 Filed on 07/22/24 in TXSD Page 5 of 20
Case 4:24-mc-01163 Document 1-15 Filed on 07/22/24 in TXSD Page 6 of 20
Case 4:24-mc-01163 Document 1-15 Filed on 07/22/24 in TXSD Page 7 of 20
Case 4:24-mc-01163 Document 1-15 Filed on 07/22/24 in TXSD Page 8 of 20
Case 4:24-mc-01163 Document 1-15 Filed on 07/22/24 in TXSD Page 9 of 20
Case 4:24-mc-01163 Document 1-15 Filed on 07/22/24 in TXSD Page 10 of 20
Case 4:24-mc-01163 Document 1-15 Filed on 07/22/24 in TXSD Page 11 of 20
Case 4:24-mc-01163 Document 1-15 Filed on 07/22/24 in TXSD Page 12 of 20
Case 4:24-mc-01163 Document 1-15 Filed on 07/22/24 in TXSD Page 13 of 20
Case 4:24-mc-01163 Document 1-15 Filed on 07/22/24 in TXSD Page 14 of 20
Case 4:24-mc-01163 Document 1-15 Filed on 07/22/24 in TXSD Page 15 of 20
Case 4:24-mc-01163 Document 1-15 Filed on 07/22/24 in TXSD Page 16 of 20
Case 4:24-mc-01163 Document 1-15 Filed on 07/22/24 in TXSD Page 17 of 20
Case 4:24-mc-01163 Document 1-15 Filed on 07/22/24 in TXSD Page 18 of 20
Case 4:24-mc-01163 Document 1-15 Filed on 07/22/24 in TXSD Page 19 of 20
Case 4:24-mc-01163 Document 1-15 Filed on 07/22/24 in TXSD Page 20 of 20
